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Exhibit E
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Int. CL: 39
Prior U.S. Cls.: 100 and 105

Reg. No. 2,462,142
United States Patent and Trademark Office Registered June 19, 2001

SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES, INC. (MINNESOTA NO CLAIM IS MADE TO THE EXCLUSIVE

CORPORATION) RIGHT TO USE "AIRLINES", APART FROM THE
5101 NORTHWEST DRIVE MARK AS SHOWN,

ST. PAUL, MN 551113034

FOR: AIR TRANSPORTATION RESERVATION THE MARK IS LINE FOR THE COLOR RED.
SERVICES, IN CLASS 39 (U.S. CLS 100 AND 105).

FIRST USE 10-1-1998; IN COMMERCE 10-1-1998. SN 75-516,766, FILED 7-10-1998.

OWNER OF U.S. REG. NOS. 1,590,191, 1,721,791,
AND OTHERS. KEVON CHISOLM, EXAMINING ATTORNEY
